






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



THE STATE OF TEXAS,


                            Appellant,


v.


ROBERTO CORRAL,


                            Appellee.
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No. 08-08-00057-CR



Appeal from the


210th District Court


of El Paso County, Texas


(TC# 20070D02763)


O P I N I O N


	The State of Texas appeals the trial court's order dismissing the case against Roberto Corral
on grounds of collateral estoppel.  We reverse.

BACKGROUND


	Roberto Corral, Andrew Cotto, and Joseph Jones were indicted for manslaughter.  After a
jury acquitted Jones of the offense, Corral filed a pretrial writ of habeas corpus and moved the trial
court to dismiss the case against him based on collateral estoppel.  According to his argument,
because Jones, the principal actor, was acquitted, and because Corral's trial would be based upon
the same evidence and expert opinion surrounding the cause of death, the State's failure to prove
death by homicide at Jones' trial collaterally estops the State from trying him for the same crime.

	The evidence presented at Jones' trial was that Jones choked the victim while Corral held the
victim's feet and Cotto held the victim's arms.  Although the medical examiner initially testified that
the cause of death was strangulation, he later testified that the victim suffered from asthma or some
other respiratory condition, which the medical examiner could not rule out as also being the cause
of death.

	At the writ hearing, Corral argued that the jury's acquittal was a finding, based on the
medical examiner's testimony, that the victim's death was not a homicide.  Therefore, he asserted
that because the evidence presented at Jones' trial showed that Jones, being the one that choked the
victim, was the principal actor, and because Jones' was acquitted of manslaughter, he could not also
be prosecuted for manslaughter as a party, that is, for aiding and abetting Jones in committing the
offense.

	The State disagreed, noting that although the medical examiner testified that the cause of
death was strangulation, the jury's acquittal was not a finding of no homicide:  "According to
[counsel] the jury says [the victim] didn't die by homicide.  That's not what they said, they said they
didn't find beyond a reasonable doubt that Joseph Jones is the one that killed [the victim]."  The
State also pointed out that Section 7.03 of the Texas Penal Code provides that it is no defense under
the law of parties that the person for whose conduct the defendant is criminally responsible has been
acquitted. (1)  Finally, the State argued that because Corral was not a party to Jones' prosecution, that
is, that he had no right to control the litigation in Jones' trial or appeal from the judgment, collateral
estoppel was inapplicable.

	The trial court rejected the applicability of Section 7.03, noting that is an affirmative defense,
not a bar to prosecution.  He further rejected the State's same-party argument, noting that because
Corral was being prosecuted under the law of parties, he was the same party with regard to the same
offense and could have been prosecuted in Jones' trial.  The trial court then granted Corral's writ and
dismissed the case against him.

DISCUSSION

	On appeal, the State contends that collateral estoppel does not bar Corral's prosecution for
manslaughter, despite Jones' acquittal, because Corral was not a party to Jones' trial.  We agree.

Standard of Review

	Collateral estoppel is embodied within the double-jeopardy clause of the Fifth Amendment
and only concerns the relitigation of specific factual determinations between the same parties.  Ashe
v. Swenson, 397 U.S. 436, 444-45, 90 S.Ct. 1189, 25 L.Ed.2d 469 (1970); Murphy v. State, 239
S.W.3d 791, 794 (Tex. Crim. App. 2007).  Simply, "[c]ollateral estoppel means 'that when an issue
of ultimate fact has once been determined by a valid and final judgment, that issue cannot again be
litigated between the same parties in any future lawsuit relating to the same event or situation.'" 
Murphy, 239 S.W.3d at 794 (quoting Ashe, 397 U.S. at 443).

	As a criminal defendant cannot rely on collateral estoppel to bar relitigation of a particular
fact in a subsequent proceeding unless he was a party to the previous proceeding, the dispositive
issue here, therefore, is the same-parties component.  State v. Brabson, 976 S.W.2d 182, 184 (Tex.
Crim. App. 1998) (finding Department of Public Safety and District Attorney's Office not the same
parties; thus, collateral estoppel did not bar District Attorney from litigating the issue of probable
cause at a suppression hearing even though that same issue was previously litigated at the revocation-of-driver's-license hearing).  Such is a question of law that we review de novo.  State v. Stevens, 235
S.W.3d 736, 740 (Tex. Crim. App. 2007); State v. Ayala, 981 S.W.2d 474, 477 (Tex. App.-El Paso
1998, pet. ref'd).

Does Collateral Estoppel Bar Accomplice's Trial?

	Standefer v. United States, 447 U.S. 10, 100 S.Ct. 1999, 64 L.Ed.2d 689 (1980), is the
controlling case on whether an accomplice may be tried for the same offense after the principal was
acquitted.  In that case, Standefer was accused of aiding and abetting a revenue official in accepting
compensation beyond that authorized by law.  Id. at 11-12.  After the revenue official was acquitted
of accepting unlawful payments, Standefer moved to dismiss the charges, arguing, on principles of
collateral estoppel, that because the principal was acquitted, he could not be convicted of aiding and
abetting that principal.  Id. at 13.  In rejecting this argument, the Supreme Court traced the origins
of aiding and abetting, and found that there was "a clear intent to permit the conviction of accessories
to federal criminal offenses despite the prior acquittal of the actual perpetrator of the offense."  Id.
at 19.  The Court further noted that collateral estoppel would not bar the accomplice's trial because
through lenity, compromise, or mistake the jury might have reached an irrational result in the prior
trial, which was not subject to review at the government's instigation.  Id. at 21-23.  Although
"symmetry of results may be intellectually satisfying, it is not required;" thus, the acquittal of a
principal does not bar the conviction of an accomplice.  Id. at 25.

	The Court of Criminal Appeals likewise rejected a similar complaint in Ex parte Thompson,
179 S.W.3d 549 (Tex. Crim. App. 2005).  There, Thompson contended that he was factually
innocent of capital murder when a different jury found the principal guilty of only felony murder. 
Id. at 551-52.  In rejecting the argument, the Court noted that it "is well-established that one
accomplice may be found guilty of a different, more serious offense than other accomplices," and
that the acquittal of the principal does not prevent conviction of his accomplice, regardless of
whether the acquittal of the principal occurs before or after the accomplice's trial.  Id. at 553-54.

	In short, simply because Jones was acquitted of manslaughter does not bar the State from
prosecuting Corral for the same offense, using the same evidence.  See United States v. Mollier, 853
F.2d 1169, 1176 (5th Cir. 1988) (stating it is "consistent and lawful for one jury to acquit one
defendant and another jury to convict a second defendant on the very same evidence," and that "the
jury is permitted to exercise leniency, so that it can even acquit a defendant whom it considers guilty
of the crime as charged and convict another on the same crime") (emphasis in original).  Rather,
collateral estoppel would only bar such prosecution if Corral was a party to the litigation in Jones'
prosecution, an issue we reach below.

Are the Parties the Same?

	The trial court ruled that because Corral was a party to the offense, he was necessarily a party
to Jones' prosecution.  We disagree.  As noted before, collateral estoppel forbids relitigation of an
issue between the same parties that litigated the issue in a prior lawsuit.  See, e.g., Ashe, 397 U.S.
at 443; Murphy, 239 S.W.3d at 794; Brabson, 976 S.W.2d at 184.  Whether collateral estoppel
should apply therefore depends on whether the two cases involved the same parties.  See Moreno v.
State, 1 S.W.3d 846, 858 (Tex. App.-Corpus Christi 1999, pet. ref'd); Ramirez v. State, No. 14-04-00952-CR, 2005 WL 1690634, at *6 (Tex. App.-Houston [14th Dist.] July 21, 2005, pet. ref'd)
(mem. op., not designated for publication).

	Here, Corral, although a party to the offense, was not a party to the litigation in the State's
prosecution of Jones.  The parties in that case were the State of Texas and Jones, whereas the parties
in the trial yet to be had are the State and Corral.  Indeed, Corral had no power to control the course
of the proceedings in Jones' prosecution.  See Reynolds v. State, 4 S.W.3d 13, 17 (Tex. Crim. App.
1999) (noting that the same party in the collateral-estoppel context connotes someone who had the
power to control the course of the previous litigation).  Because the parties are different, Corral
cannot claim collateral estoppel bars his trial based on Jones' acquittal.  See Moreno, 1 S.W.3d at
858; State v. Lovington, No. 07-08-0313-CR, 2009 WL 3643529, at *2 (Tex. App.-Amarillo Nov.
4, 2009, no pet.) (mem. op., not designated for publication); Ramirez, 2005 WL 1690634, at *6
(cases rejecting collateral estoppel as a bar to subsequent prosecution for co-defendants under the
law of parties when those defendants were not the "same parties" involved in the previous litigation
of the same crime).  Accordingly, we sustain the State's sole issue.

CONCLUSION

	The trial court's order dismissing the case against Corral is reversed, and the case is
remanded for further proceedings.


						GUADALUPE RIVERA, Justice


January 29, 2010


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)

1.   Section 7.03 provides that "[i]n a prosecution in which an actor's criminal responsibility is based on the
conduct of another, the actor may be convicted on proof of commission of the offense and that he was a party to its
commission, and it is no defense . . . that the person for whose conduct the actor is criminally responsible has been
acquitted, has not been prosecuted or convicted, has been convicted of a different offense or of a different type or
class of offense, or is immune from prosecution."  See Tex. Penal Code Ann. § 7.03(2) (Vernon 2003).

